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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                    :
v.                                   :   No.: 21-cr-036 (CJN)
                                    :
GINA BISIGNANO                       :
                   Defendant.        :
____________________________________:

                              STATUS REPORT REGARDING
                             PROPOSED PRETRIAL SCHEDULE

       The United States of America hereby submits the following status report regarding a

pretrial schedule in this matter.   Pursuant to this Court’s instructions at the May 4, 2023, status

conference, the parties have communicated regarding a mutually agreeable pretrial schedule and

have agreed to the schedule set out in the attached proposed order.

                                               Respectfully submitted,

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                                        By:         /s/
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